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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,

               Plaintiff,
                                                    C.A. No. 23-298-MN
       v.

THE TEACHING COMPANY, LLC                           JURY TRIAL DEMANDED

               Defendant.


  JOINT STIPULATION OF DISMISSAL OF ALL CLAIMS AND COUNTERCLAIMS

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Rothschild

Broadcast Distribution Systems, LLC (“Plaintiff”) and Defendant The Teaching Company, LLC

(“Defendant”) hereby stipulate and agree:

       1.      All claims asserted by Plaintiff in the above-captioned action are hereby

dismissed with prejudice.

       2.      All counterclaims asserted by Defendant in the above-captioned action are hereby

dismissed without prejudice.

       3.      Each party shall bear its own attorneys’ fees, costs, and expenses in connection

with this action.


Dated: April 24, 2023

 PHILLIPS MCLAUGHLIN & HALL, P.A.                  FISH & RICHARDSON P.C.


 /s/ Megan C. Haney                                /s/ Jeremy D. Anderson
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Attorneys for Plaintiff



                              IT IS SO ORDERED this 24th day of April 2023.



                              ______________________________________
                              The Honorable Maryellen Noreika
                              United States District Judge




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